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 3
 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                   ***
 7    UNITED STATES OF AMERICA,                              Case No.2:21-CR-52 JCM (DJA)
 8                                           Plaintiff(s),
                                                                               ORDER
 9           v.
10    MARCELL ARTURO PEREZ,
11                                        Defendant(s).
12
13          Presently before the court is defendant Marcell Arturo Perez-Aranda (“defendant”)’s

14   motion for a sentence reduction. (ECF No. 94). The government did not file a response to
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     defendant’s motion.
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            Defendant is one of three individuals charged with multiple counts of distribution of a
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     controlled substance. (See generally ECF No. 1). He now moves for a sentence reduction pursuant
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19   to Amendment 821 of the United States Sentencing Guidelines, which reduces the total offense

20   level for zero-point offenders. Defendant filed the motion pro se.
21
            Counsel for defendant has filed a notice of non-eligibility. (ECF No. 97). The notice
22
     provides that defendant’s total offense level was 29, corresponding to a sentencing guideline range
23
     of 87-108 months. (Id. at 1-2). Defendant was sentenced to fifty-seven months in custody.
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25          Counsel further provides that the amended guideline range of 70-87 months, which

26   corresponds to a total offense level of 27, is still higher than what he received at sentencing. (Id.
27
     at 2). Therefore, under Part B of Amendment 821, defendant is ineligible for a sentence reduction.
28
     Counsel specifically states, “[t]here is no colorable argument for a sentence reduction as it relates
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 1   to Amendment 821.” (Id.). Defendant’s counsel has informed the court in its motion that
 2   defendant is now aware that he does not qualify for a sentence reduction. (Id.).
 3
            Accordingly,
 4
            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant Marcell Arturo
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 6   Perez-Aranda’s motion for a sentence reduction (ECF No. 94) be, and the same hereby is,

 7   DENIED.
 8          DATED May 31, 2024.
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11                                                UNITED STATES DISTRICT JUDGE
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